Case 6:17-cv-02080-PGB-GJK Document 12 Filed 02/09/18 Page 1 of 2 PageID 65



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


ROBERT FARINATO,

                     Plaintiff,

v.                                                      Case No: 6:17-cv-2080-Orl-40GJK

PROG LEASING, LLC,

                     Defendant.
                                          /


                                          ORDER

       This cause comes before the Court on Defendant Prog Leasing, LLC’s Motion to

Compel Arbitration and Stay Proceedings (Doc. 9), filed January 2, 2018. Defendant’s

motion is unopposed. (Doc. 11). Having reviewed Plaintiff’s Complaint, Defendant’s

memorandum of law, and the subject arbitration agreement, the Court is satisfied that the

parties’ dispute in this case is preferable to arbitration. See 9 U.S.C. § 3.

       It is therefore ORDERED AND ADJUDGED as follows:

       1. Defendant’s Motion to Compel Arbitration and Stay Proceedings (Doc. 9) is

          GRANTED. The parties shall proceed to arbitration in accordance with the

          terms of their arbitration agreement.

       2. The proceedings are hereby STAYED and the Clerk of Court is DIRECTED to

          administratively close the file. The Court retains jurisdiction to adjudicate any

          post-arbitration motions the parties may make.

       3. The parties shall file a joint status report on May 9, 2018, and every ninety (90)

          days thereafter advising the Court on the progress of arbitration.
Case 6:17-cv-02080-PGB-GJK Document 12 Filed 02/09/18 Page 2 of 2 PageID 66



      DONE AND ORDERED in Orlando, Florida on February 9, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                      2
